      Case 2:18-cv-08971-GGG-KWR Document 60 Filed 08/16/19 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

JASON CORTEZ AND CHLOE CORTEZ                               CASE NO.:
     PLAINTIFFS,                                            2:18-CV-08971-GGG-KWR

VERSUS                                                      SECTION: “T”

REGGIE PITRE, TOWN OF GOLDEN                    MAGISTRATE: 4
MEADOW, ABC INSURANCE COS. 1-10
     DEFENDANTS.
******************************************************************************
             MOTION TO WITHDRAW ADMISSIONS DEEMED ADMITTED
                      ON BEHALF OF ALL DEFENDANTS

       NOW INTO COURT, through undersigned counsel, comes Defendants, Reggie Pitre and

the Town of Golden Meadow, who respectfully move this Honorable Court to order the withdrawal

of the admissions deemed admitted by the Plaintiffs, because the reason for the delay in answering

was due to the mis-communications among Counsel caused by representations of Counsel and

further complicated by the pending motion to disqualify counsel of record. The Defendants submit

that the Plaintiffs have not filed a motion to deem the admissions admitted, and should not be

allowed to take advantage of the delay in responding to the requests for admissions caused by the

mis-communications among Counsel. For these reasons and he reasons set forth more fully in the

memorandum filed in support of this motion and the attached exhibits, the Defendants respectfully

move this Honorable Court to withdraw the Plaintiffs= requests for admissions deemed admitted.

       Counsel for Plaintiffs, William Most, was contacted via email and objects to this motion.

                                             Respectfully submitted,

                                             /s/ Keith M. Detweiler
                                             Keith M. Detweiler, LA S.B. # 20784
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                                                1
     Case 2:18-cv-08971-GGG-KWR Document 60 Filed 08/16/19 Page 2 of 2



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                                          Counsel for Defendant, Reggie Pitre

                                          /s/ J. Scott Thomas_______________
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                                          Email: sthomas@lma.org
                                          Counsel for Defendant, Town of Golden Meadow



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 16th day of August, 2019, the foregoing pleading along
with any referenced attachments was served on all counsel of record via electronic mail.

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Amanda Hass
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Counsel for Plaintiffs

                                           /s/ Keith M. Detweiler
                                           Keith M. Detweiler




                                            2
